
CASE ANNOUNCEMENTS
On recommendation by the Commission on Continuing Legal Education that respondent be reinstated to the practice of law. Recommendation adopted. Respondent, Keith Michael Minkin, Attorney Registration No. 0034036, reinstated to the practice of law.
In re Report of the Commission on Continuing Legal Education.
Keith Michael Minkin (#0034036), Respondent.
Case No. CLE-2003-34036
MISCELLANEOUS ORDERS
ORDER
This matter originated in this court on the filing of a report by the Commission on Continuing Legal Education pursuant to former Gov.Bar R. X(6)(A)(1)(b) and (A)(2)(d). The commission recommended the imposition of sanctions against certain attorneys, including the above-named respondent, for failure to comply with the provisions of Gov.Bar R. X, Attorney Continuing Legal Education, for the 2001-2002 reporting period.
On December 5, 2003, this court adopted the recommendation of the commission, imposed a sanction fee upon respondent, and suspended respondent from the practice of law pursuant to former Gov.Bar R. X(6)(B)(3) and (5)(A)(4). The court further ordered that respondent would not be reinstated to the practice of law in Ohio until respondent complied with the requirements for reinstatement set forth in former Gov.Bar R. X(7), complied with the Supreme Court Rules for the Government of the Bar of Ohio, complied with the December 5, 2003 order and all other orders of the court, and this court ordered respondent reinstated.
On October 5, 2018, the commission filed a recommendation pursuant to former Gov.Bar R. X(7)(B)(2), finding that respondent has paid all fees assessed for noncompliance, has made up all deficiencies, and is now in full compliance with all requirements of Gov.Bar R. X, and recommending that respondent be reinstated to the practice of law in Ohio. The commission certified that respondent had completed the credit hours of continuing legal education required during the suspension by this court's order of suspension. Respondent has satisfied all the requirements of this court's order of suspension.
Upon consideration thereof, it is ordered by the court that the recommendation of the commission is adopted and respondent, Keith Michael Minkin, is hereby reinstated to the practice of law.
